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                                                                                                    ·' Rtc-r- ~'-U~ p
                                                                                       21 HAY                  . Ct ~ ,·
                        IN THE UNITED STATES DISTRICT COURT                                      . 26 PH   I,:   I7
                       FOR THE _ __ _ DISTRICT OF _ _ __
                                     - - - - DIVISION
                           (Write the District and Division, if any, of
                           th<!_ qourt-ji'}_which Jl:~ mplgj_nt !.§fll~4) _



                                                         Complaint for a Civil Case

                                                         Case No. - - - - - - - - - -
   rite the full name o each plaintiff who is filing
                                                         (to be filled in by the Clerk 's Office)
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write "see
attached" in the space and attach an additional
                                                         Jury Trial:    •  Yes     •No
                                                                        (check one)
page with the full list of names.)




(Write the full name of each d 'endant who is
being sued If the names of al the defendants
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list of names.)
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I.   The Parties to This Complaint

     A.    The Plaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach

            ddlfo::::ges "needd .         - -~                       ✓)t{         /Ir~ -
                  Street Address
                  City and County
                  State and Zip Code
                  Telephone Number
                  E-mail Address

     B.    The Defendant(s)

           Provide the information below for each defendant named in the complaint,
           whether the defendant is an individual, a government agency, an organization, or
           a corporation. For an individual defendant, include the person's job or title (if
           known). Attach additional pages if needed.

           Defendant No. 1
                  Name                     j _!WPP
                  Job or Title
                  (if known)
                  Street Address
                  City and County
                  State and Zip Code
                  Telephone Number
                  E-mail Address
                  (if known)

           Defendant No. 2
                  Name
                  Job or Title
                  (if known)
                  Street Address
                  City and County



                                            2
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                     State and Zip Code
                     Telephone Number
                     E-mail Address
                     (if known)

             Defendant No. 3
                     Name
                     Job or Title
                     (if known)
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone Number
                     E-mail Address
                     (if known)

             Defendant No. 4
                     Name
                     Job or Title
                     (if known)
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone Number
                     E-mail Address
                     (if known)

II.   Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331 , a case arising
      under the United States Constitution or federal laws or treaties is a federal question case.
      Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake is more than $75 ,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.


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     What is t h e ~ federal court jurisdiction? (check all that apply)

           ~deral question                                 •     Diversity of citizenship

     Fill out the paragrap_!is in this section that apply to this case.

     A.      If the Basis for Jurisdiction Is a Federal Question

             List the specific federal statutes, federal treaties, and/or provisions of the United
             S     s Co                             ·n thi




     B.      If the Basis for Jurisdiction Is Diversity of Citizenship

             1.      The Plaintiff(s)

                     a.




                     b.      If the plaintiff is a corporation

                             The plaintiff, (name) _ _ _ _ _ _ _ __ _ , is incorporated
                             under the laws of the State of (name) _ _ _ _ _ _ _ __ _
                             and has its principal place of business in the State of (name)



                     (If more than one plaintiff is named in the complaint, attach an additional
                     page providing the same information for each additional plaintiff.)

             2.      The Defendant(s)

                     a.       If the defendant is an individual

                              The defendant, (name),_
                                                    __~
                                                          --4-,'2 Jt
                                                       _ _ _1/
                                                                          TI
                                                            _____., is a citizen of
                              the State of (name)                Or is a citizen of
                              (foreign nation) _ __ __ __ _ __




                                                  4
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                      b.



                                                                                                   ,
                                                                -   -1-·~ ~ : _ __ _ _ _,f:,.L •




                      additional page providing the same information for each additional
                      defendant.)

              3.      The Amount in Controversy

                      The amount in controversy-the amount the plaintiff claims the defendant

                      and osts of court, jec~use (exp layi) :
                                        (µn~bl.b                    ~s--
                                                                                           I'
                      owes or the amount at stake-is more than $75,000, not counting interest
                                                                                  _J



       ~           I                                       ----ftt                       -r             .
III.   State!; ntofClaim               //l,,V'.J-.-0t/~ I OrrvV~;,;)
       Write a short and plain statement of the claim. Do n<Wn'iake legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other

                                      ....    ---
       relief sought. State how each defendant was involved and what each defendant did that
       caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim


       add if nal pages if needed.                              /)                      st,.. f
       and write a short and plain statement of each claim in a separate paragraph. Attach


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IV.   Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      ~!lc~ed are continuing at the present time. Include the amounts of any actual damages
      claimed fort he act~-~ll~gc:d ~ nd the basis to1 ttiese amounts. Include any punitive 0 1'
      exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages.




V.
      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

      A.       For Parties Without an Attorney

               I agree to provide the Clerk's Office with any changes to my address where case-
               related papers may be served . I understand that my failure to keep a current
               address on file with e Clerk's Office may result in the dismissal of my case.

               Date of signing:

               Signature of Plaintiff
               Printed Name of Plaintiff


      B.       For Attorneys

               Date of signing: _ ____ , 20_



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          Signature of Attorney
          Printed Name of Attorney
          Bar Number
          Name of Law Firm
          Address
          Telephone Number
          E-mail Address




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